          Case 4:22-mc-01285 Document 73 Filed on 05/10/24 in TXSD Page 1 of 9




                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    ENI GHANA EXPLORATION AND                    §
    PRODUCTION LTD., et al.,                     §
                                                 §
            Petitioners,                         §
                                                 §
    VS.                                          §    MISCELLANEOUS ACTION NO.
                                                 §    4:22-MC-01285
                                                 §
    GAFFNEY CLINE & ASSOCIATES,                  §
    INC., et al.,                                §
                                                 §
            Respondents.                         §


          SPRINGFIELD EXPLORATION AND PRODUCTION LIMITED’S
    RESPONSE TO ALLEGATIONS OF MISREPRESENTATIONS TO GHANA COURT

           Springfield Exploration and Production Limited (“Springfield”) hereby responds to this

Court’s April 26, 2024 Minute Entry order. First, Springfield will address allegations of

misrepresentations in the Ghanaian court proceeding raised by Eni Ghana Exploration and

Production Ltd. (“Eni”). Second, Springfield will address the Court’s statements regarding

potential sanctions.

           Springfield acknowledges that its statement to the Ghana High Court that it was not a

“party” to the case in this Court was misleading, albeit technically consistent with Ghana law.1

Springfield sincerely regrets its error and will work to correct the record in Ghana as further

discussed below. When it made the statement in the Ghanaian court proceeding, Springfield did

not consult with any United States-based counsel. Neither its former counsel at Jackson Walker

L.L.P. nor its recently engaged counsel at Burke Law Group, PLLC, reviewed the Response to

Eni’s Motion to Seal in the Ghana High Court, nor were they otherwise involved in the Ghana

1
    Declaration of N.O. Addae at ¶ 9–11.
      Case 4:22-mc-01285 Document 73 Filed on 05/10/24 in TXSD Page 2 of 9




proceedings. Had Springfield shown its Response to U.S. counsel, Springfield would have

realized the potential confusion caused by differing legal terminology and usage in Ghana and

the United States and then adjusted its language.

        The other statements that Eni alleges to be misrepresentations are, in fact, disputed

interpretations of Ghanaian rules governing discovery and the admission of evidence. The Ghana

High Court, in its written Order (“Ghana Order”),2 agreed with Springfield’s legal arguments

regarding Eni’s “Motion on Notice for an Order of this Honourable Court to Seal Confidential

Documents and Information and for Proceedings Relating to the Sealed Confidential Documents

and Information to be Held in Camera” (“Motion to Seal”).3 Such non-frivolous disputes do not

rise to the level of “egregious misconduct”, “bad faith or willful abuse of the judicial process”

required for the court to use its inherent power to sanction parties.4

1. THE ALLEGED MISREPRESENTATIONS

A. Springfield will clarify to the Ghanaian court that it was an “intervenor” in this case,
   and thus a “party” to the proceeding.

        Springfield takes responsibility for its misleading statement in the Ghana court that it was
not a party to this case in the Southern District of Texas (the “Texas Proceedings”). As Mr.
Addae, in-house counsel for Springfield, stated in his Declaration:

        Under Ghana law, it is, strictly speaking, legally accurate that Springfield is not
        considered a “party” to the Texas Proceedings because it was only an
        “intervenor.” … However, with hindsight, Springfield and I recognize that this
        distinction is pedantic and was potentially misleading. This argument should
        not have been included in the Ghanaian proceeding.5

Springfield regrets the confusing nature of the statement and making the error.


2
  ECF No. 64-5.
3
  ECF No. 64-1.
4
  Nat'l Oilwell Varco, L.P. v. Auto-Dril, Inc., 68 F.4th 206, 219 (5th Cir. 2023).
5
  Declaration of N.O. Addae at ¶ 9 (emphasis added).


SPRINGFIELD’S RESPONSE TO ALLEGATIONS OF MISREPRESENTATION                                        2
        Case 4:22-mc-01285 Document 73 Filed on 05/10/24 in TXSD Page 3 of 9




          This statement caused no prejudice to Eni because the Ghana High Court did not rely on

it in the Ghana Order. Though the Ghana Order noted Springfield’s statement, the decision itself

rested on two separate grounds, the two ways in which Eni had failed to follow the procedural

requirements for using, admitting, or relying on certain documents under Ghana law. First, the

Protective Order6 was not registered and so it could not be recognized or enforced. Second,

evidence cannot be admitted when it is not referenced in the pleadings.7

          Springfield intends to correct the record in Ghana. Eni has filed a Notice of Appeal8 of

the Ghana Order, but the Ghana court has not yet issued a schedule. Springfield expects it will do

so shortly. In his Declaration, Mr. Addae explained how Springfield will cure the error regarding

its role in the Texas Proceedings:

          We cannot immediately correct the statement because there is no rule or
          procedure under Ghana law that allows a party to re-open a case that has been
          closed, solely to clarify a statement. We will correct the record in our written
          response to Eni’s Appeal, in our supporting affidavit, or during a hearing, as soon
          as we are able.9

B. The Ghana High Court’s Order agreed with Springfield’s interpretation of the law as
   to the other alleged misrepresentations.

          The remaining alleged misrepresentations are centered on procedural disputes about

discovery and the admission of evidence in the Ghanaian court. Justice Doris Awuah Dabanka-

Bekoe, in her Ghana Order, ruled that Springfield’s position on the Motion to Seal was correct

and that Eni’s position was wrong. Springfield acknowledges that Eni views the legal and factual

issues differently, but Springfield disagrees that Springfield has mischaracterized anything

except the statement about its role in the Texas Proceedings.


6
  ECF No. 61.
7
  ECF No. 64-5, 5–6 and 4.
8
  ECF No. 64-6.
9
    Declaration of N.O. Addae at ¶ 11.


SPRINGFIELD’S RESPONSE TO ALLEGATIONS OF MISREPRESENTATION                                      3
        Case 4:22-mc-01285 Document 73 Filed on 05/10/24 in TXSD Page 4 of 9




Eni’s Claim that it Did Not Attempt to “Enforce” the Protective Order in Ghana

          Eni alleges that Springfield mischaracterized Eni’s Motion to Seal as an action to

“enforce a foreign judgment”.10 First, the Ghana Order itself held that Eni was “seek[ing] an

enforcement” of the Ex Parte Order and the Protective Order, so Springfield’s statement was

apparently not unreasonable. Second, Springfield’s written opposition actually said Eni had

failed to follow the procedural requirements for “recognition and enforcement” of the Ex Parte

Order and Protective Order.11 A fair reading of Eni’s Motion to Seal shows that Eni was asking

the Ghana court to implement or “enable[] fulfilment of the conditions for filing of GCA

documents,” which Eni itself said were provided in this Court’s Protective Order.12 The

Ghanaian court’s interpretation of the legal terms “enable,” “enforce,” or “recognize” should be

credited, so Springfield’s statement was not misleading.

Eni’s Claim that Gaffney Cline Documents Were Sufficiently Averred in Pleadings

          The Ghana Order concluded that the Gaffney, Cline & Associates (“GCA”) documents,

and their provenance, were not sufficiently described in the pleadings and thus did not grant

Eni’s Motion to Seal.13 Justice Dabanka-Bekoe “studied the pleadings of the Parties before the

Court”.14 She then held that Eni’s Motion would be denied because the “request to admit facts…

must be in relation to the case of the Applicant [Eni] as reflected in the pleadings before the

Court,” and the GCA documents and the Texas Proceedings were not appropriately included in

the pleadings.15 Eni may have an argument that the Ghanaian judge incorrectly applied Ghana’s


10
     Motion to Modify, ECF No. 63 at 10.
11
     Springfield’s Resp., ECF No. 64-4 at 8, ¶ 26 (emphasis added).
12
   Eni Written Submission, ECF No. 64-3 at 7, ¶¶ 23–25.
13
   Ghana Court Order, ECF No. 64-5 at 4 and 6.
14
   ECF No. 64-5 at 4.
15
     ECF No. 64-5 at 4.


SPRINGFIELD’S RESPONSE TO ALLEGATIONS OF MISREPRESENTATION                                    4
      Case 4:22-mc-01285 Document 73 Filed on 05/10/24 in TXSD Page 5 of 9




court rules, but that disagreement in the Ghana proceedings does not mean Springfield

“mischaracterized” Eni’s position.

Springfield Never Alleged that the Gaffney Cline Documents Were Irrelevant or Inauthentic

        Springfield’s Response to the Motion to Seal never asserted that the GCA documents

were not relevant to the substantive case.16 Rather, Springfield argued that “parties are bound by

their pleadings” and that Eni itself said that the “Request to Admit Facts contains information

derived from the GCA Documents,”17 not from the pleadings. Similarly, Springfield’s argument

that the GCA documents were “inadmissible” relates to how a party must authenticate evidence

properly under Ghanaian court procedures.18 Springfield was asking the court to require Eni to

follow those rules and procedures.

2. POTENTIAL SANCTIONS

        Courts have inherent powers to sanction a party, which “must be exercised with restraint

and discretion.”19 The Fifth Circuit has said that it will uphold sanctions “only if clear and

convincing evidence supports the court's finding of bad faith or willful abuse of the judicial

process.”20 It is only the “most egregious misconduct” that warrants sanctions under a court’s

inherent powers.21 For example, the fabrication of evidence supports a finding of fraud on the

court, whereas “nondisclosure to the court of facts allegedly pertinent to the matter” is not as




16
   Springfield’s Resp., ECF No. 64-4.
17
   ECF No. 64-4 at ¶ 41 (quoting Ghana case law); Eni’s Affidavit ISO Motion to Seal, ECF No. 64-1 at
8, ¶ 26.
18
   ECF No. 64-4 at ¶¶ 30–33.
19
   Nat'l Oilwell Varco, L.P. v. Auto-Dril, Inc., 68 F.4th 206, 219 (5th Cir. 2023) (citation omitted).
20
   In re Moore, 739 F.3d 724, 730 (5th Cir. 2014).
21
   Nat'l Oilwell Varco, L.P. v. Auto-Dril, Inc., 68 F.4th at 219.



SPRINGFIELD’S RESPONSE TO ALLEGATIONS OF MISREPRESENTATION                                               5
     Case 4:22-mc-01285 Document 73 Filed on 05/10/24 in TXSD Page 6 of 9




egregious.22 Here, Springfield mistakenly mischaracterized its role in the Texas Proceedings, but

has done nothing egregious.

A. Springfield takes responsibility for the confusing “party” argument and will work to
   correct the record.

         When a party assures the court that the behavior will not reoccur and there has been no

prejudice to the other party, or “any prejudice… has been, or will be cured,” courts refrain from

imposing sanctions.23 Here, Springfield has recognized that its argument was “pedantic” and that

it caused confusion. Springfield will correct the record in Eni’s upcoming appeal of the Ghana

Order.

B. The Ghana High Court accepted Springfield’s arguments, so the arguments cannot be
   deemed frivolous.

         Eni referred to Springfield’s arguments—including the same ones on which the Ghana

Order relied—as “mendacious,” “cynical,” and made in “rank bad faith”.24 But the Ghana High

Court credited Springfield’s arguments in opposition to Eni’s Motion to Seal and denied Eni’s

Motion. It would be improper for this Court to determine that Springfield’s arguments were so

frivolous as to be made in bad faith when the Ghana court agreed with them.25 Whether the

Ghana Order was correctly decided or whether it will be overturned on appeal, “[a] foreign

nation may limit discovery within its domain for reasons peculiar to its own legal practices,




22
   Nat'l Oilwell Varco, L.P. v. Auto-Dril, Inc., 68 F.4th at 219 (quoting Rozier v. Ford Motor Co., 573
F.2d 1332, 1338 (5th Cir. 1978)).
23
   Julian v. City of Houston, No. 4:12-CV-2973, 2014 WL 1385948, at *2 (S.D. Tex. Apr. 9, 2014).
24
   Motion to Modify, ECF No. 63 at 11, 15, 19 (“mendacious”); 14, 20, 21 (“cynical”); and 1, 14 (“rank
bad faith”).
25
  The Fifth Circuit explained that it is “difficult to comprehend” how a position or motion “could have
been so harassing and frivolous as to warrant sanctions” if the court takes the same position. Sheets v.
Yamaha Motors Corp., U.S.A., 891 F.2d 533, 537–38 (5th Cir. 1990).


SPRINGFIELD’S RESPONSE TO ALLEGATIONS OF MISREPRESENTATION                                                 6
        Case 4:22-mc-01285 Document 73 Filed on 05/10/24 in TXSD Page 7 of 9




culture, or traditions,” and “comparison of systems is slippery business”.26 A U.S. court should

decline to characterize a foreign court’s position on its own procedural rules as frivolous, let

alone characterize such a position as made in bad faith, without much more support.

C. There are no exceptional circumstances that warrant sanctions.

           Eni repeatedly characterizes Springfield as acting in bad faith. However, Springfield has

only asked the Ghana court to require Eni to follow standard procedures. For example, Eni

believes that “Springfield should have stipulated to Eni’s request,”27 whereas Springfield argued

to the Ghanian court that the GCA documents must be authenticated under Sections 136 and 159

of Ghana’s Evidence Act.28

           Requiring an opposing party to follow procedure does not imply a bad faith attempt to

harass, cause unnecessary delay, or increase costs. In Sheets v. Yamaha Motors Corp., the Fifth

Circuit held that sanctions against a foreign company were not appropriate, even though the

company increased the plaintiff’s costs by requiring service of process via the Hague

Convention.29 The company could have agreed to accept service, which would have saved

several thousand dollars (adjusted for inflation) and time.30 But the court held that it was

reasonable for the defendant to insist on the proper procedure and overturned the sanctions

imposed by the lower court.31 Insisting upon proper procedure does not amount to sanctionable

conduct.



26
  Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 263 and 263 n.15 (2004) (in the context of
28 U.S. § 1782 proceedings for discovery in foreign proceedings).
27
     Motion to Modify, ECF No. 63 at 15.
28
     Springfield’s Resp., ECF No. 64-4 at ¶¶ 30–36.
29
     Sheets v. Yamaha Motors Corp., U.S.A., 891 F.2d 533, 538 (5th Cir. 1990).
30
     Id. at 535.
31
     Id. at 538.


SPRINGFIELD’S RESPONSE TO ALLEGATIONS OF MISREPRESENTATION                                                7
     Case 4:22-mc-01285 Document 73 Filed on 05/10/24 in TXSD Page 8 of 9




                                         * * * * *

       Springfield regrets its error regarding its classification as a “party” to the Texas

Proceedings and will correct the record in Ghana during Eni’s upcoming appeal of the Ghana

Order. The other allegations, though, point to discovery and evidentiary disputes under Ghanaian

law. On these points, Justice Dabanka-Bekoe and the Ghana High Court agreed with

Springfield’s arguments and ruled against Eni. The alleged misrepresentations are certainly not

examples of the kind of “bad faith or willful abuse of the judicial process” that would warrant

sanctions. Where Springfield’s arguments are clearly not frivolous and Springfield’s alleged bad

behavior amounts to asking the Ghana court to follow proper court procedure, sanctions are not

appropriate.



                                           Respectfully submitted,

                                           /s/ Jill R. Carvalho
                                           Jill R. Carvalho
                                           Attorney-in-Charge
                                           State Bar of TX: 24087266
                                           S.D. Tex. ID: 2888436
                                           Burke Law Group PLLC
                                           1809 Pearl Street
                                           Austin, TX 78701
                                           T: (832) 987-2214
                                           F: (832) 793-0056
                                           Jill.Carvalho@burkegroup.law

                                           ATTORNEY-IN-CHARGE FOR INTERVENOR
                                           SPRINGFIELD EXPLORATION AND
                                           PRODUCTION LTD.




SPRINGFIELD’S RESPONSE TO ALLEGATIONS OF MISREPRESENTATION                                    8
     Case 4:22-mc-01285 Document 73 Filed on 05/10/24 in TXSD Page 9 of 9




                                CERTIFICATE OF SERVICE

        This is to certify that on May 10, 2024, I electronically filed the foregoing document with
the clerk of the court for the U.S. District Court, Southern District of Texas, using the electronic
case filing system of the Court. The electronic case filing system sent a “Notice of Electronic
Filing” to the attorneys of record who have consented in writing to accept this Notice as service
of this document by electronic means.



                                              /s/ Jill Carvalho
                                              Jill R. Carvalho




SPRINGFIELD’S RESPONSE TO ALLEGATIONS OF MISREPRESENTATION                                        9
